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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

DEXTER JOHNSON,                            §
            Petitioner,                    §
                                           §
v.                                         §          No. 4:19-cv-3047
                                           §        (Death Penalty Case)
BOBBY LUMPKIN, Director,                   §
Texas Department of Criminal               §
Justice, Correctional Institutions         §
Division,                                  §
                  Respondent.              §

           RESPONDENT’S OPPOSED MOTION FOR LEAVE
     TO FILE LIMITED RESPONSE TO JOHNSON’S POST-HEARING
                          BRIEFING

       On March 31, 2022, this Court held an evidentiary hearing to address

the question of whether Petitioner Dexter Johnson’s state and federal habeas

counsel, Patrick McCann, provided representation that “rendered Johnson’s

Atkins[ 1] claim previously unavailable and whether it entitles Johnson to

equitable tolling.” Order at 25–26, ECF No. 18. Pursuant to the Court’s

scheduling order, see Order, ECF No. 48, the parties submitted post-hearing

briefing on May 11, 2022. See Pet’r Johnson’s Br. Following Mar. 31, 2022 Evid.

Hr’g, ECF No. 63 (Johnson Post-Hr’g Br.); Resp’t Director’s Post-Hr’g Br. &

Renewed Mot. Dismiss, ECF No. 64. The Court’s scheduling order did not




1      Atkins v. Virginia, 536 U.S. 304 (2002).
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contemplate responsive briefing. See Order, ECF No. 48. However, the Director

moves the Court to permit him to file a limited response to Johnson’s post-

hearing briefing to address evidentiary issues that his briefing raises.

      Namely, it appears that Johnson has deliberately bypassed the

constraints of the Court’s evidentiary rulings. For example, at the March 24,

2022 pre-hearing conference, Johnson offered several exhibits consisting of

motions to appoint new counsel that McCann filed in other petitioners’ federal

cases. See Johnson Ex. 6 (motion for appointment of new counsel filed in Tarus

Vandell Sales’s case), ECF No. 57-6;        2   Johnson Ex. 7 (same in Demetrius

DeWayne Smith’s case), ECF No. 57-7; Johnson Ex. 8 (same in Ronald James

Hamilton’s case), ECF No. 57-8; Johnson Ex. 11 (same in Raymond DeLeon

Martinez’s case), ECF No. 57-11. The Director objected to those filings on

relevancy grounds, as it was unclear what McCann’s motions in other cases

had to do with why he did not raise an Atkins claim sooner in Johnson’s case.

See Resp’t’s Objs. Pet’r’s Exs. and Dep. Designations 2, ECF No. 56. This Court



2      At the March 24, 2022 pre-hearing conference, this Court excluded some of
Johnson’s exhibits pursuant to the Director’s objections, held off on rulings on many
of them, and admitted only one for a limited purpose—Dr. Hupp’s report contained
in Johnson Exhibit 13. Johnson, however, offered no exhibits at the March 31, 2022
evidentiary hearing; thus, no exhibits (other than Dr. Hupp’s report) were admitted.
This Court’s local rules require the parties to electronically file admitted exhibits for
purposes of appeal. See Court Proc. & Prac. C.3. The Director complied with this rule
on April 20, 2022. See ECF No. 62. Johnson, however, electronically filed his
unadmitted exhibits before the hearing occurred. It is unclear why Johnson did so,
but for ease of reference, the Director cites to those ECF numbers here.
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deferred rulings on the Director’s relevancy objections pending Johnson laying

a foundation to admit the exhibits or use them for impeachment purposes. See

Mar. 24, 2022 Min. Entry for Proceedings before Judge Alfred H. Bennett

(“Exhibits 6, 7 and 8 – Court will hold on ruling” and “Exhibit 11 – Court will

hold on ruling”).

      Though Johnson discussed one of those exhibits with Mr. McCann at the

March 31 evidentiary hearing, see Evidentiary Hr’g Rep.’s R. (EHRR) 39–44

(asking McCann about motion to appoint new counsel that he filed in

Martinez’s case), Johnson never offered any of those exhibits at the evidentiary

hearing. Yet he cited to and discussed their substance in great detail in his

post hearing briefing, including using them to attempt to post hoc impeach

McCann on paper. See Johnson Post-Hr’g Br. 14–17 (arguing that McCann’s

filings in Martinez, Sales, Smith, and Hamilton “belie[s]” his testimony at the

hearing “that he did not see the need to seek conflict-free counsel” and

“demonstrates that Mr. McCann knew he should have sought conflict-free

counsel to represent Mr. Johnson”). Johnson goes even further than the

motions McCann filed, citing to another attorney’s filings about McCann in

Martinez’s case. See id. at 15–16 n.5 (stating Martinez’s later federal habeas

counsel “note[d] that Mr. McCann, as state habeas counsel, never hired an

expert to evaluate his intellectual disability claim”). While McCann’s own

statements in filings in other cases were not hearsay, another attorney’s

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statements about McCann certainly are. 3 But this Court was never presented

with an opportunity to rule on a hearsay objection because Johnson never

offered this evidence at the hearing. Johnson’s after-the-fact reliance on

exhibits he never offered, questioned about, or admitted at the evidentiary

hearing is entirely improper.

      Similarly, this Court previously ruled that Johnson was not permitted to

call ethics expert Robert Schuwerk at the March 31, 2022 evidentiary hearing.

See Order 9–10 (denying Johnson’s request to call Schuwerk at the hearing

and finding that his testimony “by deposition or affidavit is not relevant or

useful”), ECF No. 28. Johnson thus did not offer Schuwerk’s declaration as

evidence at that hearing. 4 But he twice cites to that declaration to support his

substantive arguments that McCann was unethical and ineffective during his

representation of Johnson. See Johnson Post-Hr’g Br. 14 (quoting Schuwerk’s




3     And to the extent Johnson is relying on another attorney’s statements to
insinuate McCann performed poorly in Martinez’s case and, therefore, performed
poorly in Johnson’s case, this is inadmissible character-in-conformity evidence. Fed.
R. Evid. 404(a)(1) (“Evidence of a person’s character or character trait is not
admissible to prove that on a particular occasion the person acted in accordance with
the character or trait.”). The same is true for the cases Johnson cites for the
proposition that McCann has, in other instances, “ignore[d] his client’s directions or
otherwise violat[ed] his constitutional rights.” See Johnson Post-Hr’g Br. 9 n.2.

4      Johnson did not even file Schuwerk’s declaration in this proceeding; he
attached it as an exhibit to the motion for post-judgment relief that he filed in his
prior federal habeas proceeding. See Johnson Mot. Relief J. Pursuant to Fed. R. Civ.
P. 60(b)(6) Ex. 2, Johnson v. Stephens, No. 4:11-CV-2466 (S.D. Tex. June 24, 2019),
ECF No. 95-2.
                                          4
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declaration for proposition that McCann “chose ‘to defend the quality of his

previous representation to his client’s detriment’”), 16 n.6 (citing Schuwerk’s

declaration to support that Christenson v. Roper, 574 U.S. 373 (2015), directly

applies to McCann’s supposed conflict). Johnson should not be permitted to

circumvent the Court’s evidentiary rulings in this matter.

      Most egregiously, Johnson has cited and relied upon evidence that this

Court excluded on hearsay grounds. Johnson offered as an exhibit a letter

written by a pro se petitioner in another case. See Johnson Ex. 9, ECF No. 57-

9. The Director objected on hearsay grounds, as Johnson was clearly using the

content of the letter for the truth of the matter asserted. The Court sustained

the Director’s hearsay objection and excluded Johnson Exhibit 9. See Mar. 24,

2022 Min. Entry for Proceedings before Judge Alfred H. Bennett (“Exhibits 9

and 10 – Objections sustained”). Johnson did not ask McCann any questions

about that letter or about his work in the Hamilton case. Johnson nevertheless

directly cites the content of the exact same letter this Court excluded on

hearsay grounds. See Johnson’s Post-Hr’g Br. 17 (“After Mr. Hamilton wrote

to the court and asked that Mr. McCann not be appointed to represent him”

(emphasis in original)). Johnson bypasses the Court’s evidentiary ruling by

citing not to his proffered (and excluded) exhibit, but by citing to the electronic

docket entry in Hamilton’s federal habeas case. See id. But citing to an ECF



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docket entry does not make it any less hearsay. In other words, Johnson has

deliberately disregarded the Court’s evidentiary ruling.

      Johnson requested an evidentiary hearing be held, and this Court

granted him one. Johnson’s decision to repeatedly ignore this Court’s

evidentiary rulings is an abuse of the process with which he was given the

opportunity to engage. Though the Court’s scheduling order does not permit

responsive briefing, the Director believes a limited response is appropriate to

address Johnson’s intentional decision to evade the Court’s rulings. The

Director could not have anticipated in his own post-hearing briefing that

Johnson would rely upon evidence that is not part of the record. The Director

thus requests that the Court grant him leave to file a limited response to

Johnson’s post-hearing 5 and that the Court file the attached limited response.

                                 CONCLUSION

      The Director respectfully asks that this Court grant him leave to file the

attached limited response to Johnson’s post-hearing briefing and that the

Court file the attached response.

                                       Respectfully submitted,

                                       KEN PAXTON
                                       Attorney General of Texas

                                       BRENT WEBSTER
                                       First Assistant Attorney General

5     The Director’s proposed briefing is being filed simultaneously with this motion.
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                                   Deputy Attorney General
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                                   ATTORNEYS FOR RESPONDENT

                     CERTIFICATE OF CONFERENCE

     I do hereby certify based on a conference with Petitioner’s counsel,
Jeremy Schepers, that Johnson is opposed to the relief requested herein.

                                   s/ Gwendolyn S. Vindell
                                   GWENDOLYN S. VINDELL
                                   Assistant Attorney General




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                        CERTIFICATE OF SERVICE

      I do herby certify that on May 25, 2022, I electronically filed the foregoing
document with the Clerk of the Court for the U.S. District Court, Southern
District of Texas, using the electronic case-filing system of the Court. The
electronic case-filing system sent a “Notice of Electronic Filing” (NEF) to the
following counsel of record, who consented in writing to accept the NEF as
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                                         s/ Gwendolyn S. Vindell
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